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                                  UNITED STATES DISTRICT COURT
                                             FOR THE
                                      DISTRICT OF COLORADO

  Mark Jordan,                                    |
    Plaintiff,                                    |
                                                  |
       v.                                         |        Civ. No. 07-CV-02303
                                                  |
  FEDERAL BUREAU OF PRISONS,                      |
    Defendant,                                    |
                                                  |


                                      DECLARATION OF RON HILL


  I, Ron Hill, do hereby declare and state the following:

  1.        I am the Administrator for the Federal Bureau of Prisons (BOP), Freedom of Information

            Act/Privacy Act (FOIA/PA) Section, in the BOP’s Central Office. In this position, I have

            access to the records of requests made under the FOIA/PA and I supervise the processing of

            those requests. I base this declaration on my review of those records as they pertain to

            Plaintiff, Mark Jordan.

  2.        Records indicate that since fiscal year 2006, Plaintiff has filed over 50 FOIA requests with

            the Bureau of Prisons.

  3.        The following information pertains to FOIA Request #2006-9422, which is referenced in

            Plaintiff’s Amended Complaint in the section entitled “Claim Eight.”

  CLAIM EIGHT:

  CHRONOLOGY

  4.        On August 15, 2006, the Bureau of Prisons’ Office of General Counsel (OGC), Freedom of

            Information Act Section, received a FOIA Request #06-9422 from the Plaintiff.

  5.        In FOIA Request #2006-9422, the Plaintiff requested “copies of all documents, including all

            administrative records, requests, appeals, and responses thereto, relating to the following
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        Administrative Remedies identified by Remedy ID numbers: 399657, 398950, 394521.”

  6.    On August 23, 2006, OGC sent a letter to the Plaintiff acknowledging receipt of FOIA

        Request #2006-9422.

  7.    On December 11, 2007, the BOP responded to Plaintiff’s FOIA Request #2006-09422 via

        letter indicating that 155 pages of responsive records had been located, and 23 pages of

        those 155 were releasable to him. Of the 155 pages of responsive documents that were

        located, twenty-three (23) pages documents were fully releasable, eight (8) pages of

        documents were redacted pursuant to 5 U.S.C. §§ 552(b)(5). The remaining 124 pages were

        withheld in their entirety pursuant to 5 U.S.C. § 552(b)(5).

  8.    Upon further review of these documents in preparation for this declaration, it was

        discovered the electronic redaction of 6 of the 8 pages redacted caused the pages to be

        completely redacted. These 8 pages were printed out again with only the objectionable

        portions redacted and were provided to the Plaintiff, along with a letter dated May 30, 2008.

  ADEQUACY OF SEARCH

  9.    All records related to these Administrative Remedies are kept in a folder with the assigned

        remedy number. Administrative Remedy staff searched for, located and copied all records

        contained in the folders for the three Administrative Remedies Plaintiff sought.

               JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                                 EXEMPTION 5 U.S.C. § 552(b)(5)

  10.   Exemption 5 protects “inter-agency or intra-agency memorandums or letters which would

        not be available by law to a party. . . in litigation with the agency.” In other words, this

        exemption protects documents normally privileged in the civil discovery context.

  11.   Three of the 8 redacted pages were cover letters for each of the three Administrative

        Remedies, addressed to the Warden, wherein a portion was redacted on each that contained


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        identical information that was developed by an attorney in anticipation of litigation

        challenging the BOP’s position taken in the response to the Administrative Remedies. The

        statutory basis for the redaction was 5 U.S.C. 552(b)(5). Another 3 of the 8 redacted pages

        were Administrative Remedy database printouts for the three Administrative Remedies,

        each containing an identical statement discussing possible litigation strategies.

  12.   The 124 pages withheld are copies of case law and internal memorandum prepared by BOP

        attorneys as part of their attorney work product where they are discussing and developing

        the legal position in anticipation of litigation challenging the BOP’s position taken in the

        response to the Administrative Remedy Requests. The statutory basis for the withholdings

        was 5 U.S.C. 552(b)(5).

               JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                                  EXEMPTION 5 U.S.C. § 552(b)(2)

  13.   Exemption 2 exempts from mandatory disclosure records “related solely to the internal

        personnel rules and practices of an agency.” 5 U.S.C. § 552(b)(2).

  14.   Exemption “high” (b)(2) was applied to redact the internal telephone numbers and

        extensions of staff. Release of these direct telephone numbers could allow the public to

        impede the effectiveness of our Central Inmate Monitoring system which allows calls to be

        screened by staff at the main switch board to prevent the improper release of information

        relating to Witness Security cases and other non-public information.

  15.   In addition, exemption “low” (b)(2) was applied to staff e-mail addresses as these are simply

        internal means for staff to contact each other and are not subject to a genuine and significant

        public interest. The e-mail addresses of these law enforcement staff members do not bear

        on the content or substance of the matter which was sought.




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               JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA

                         EXEMPTION 5 U.S.C. § 552(b)(6) and (b)(7)(C)

  16.   Title 5, United States Code, Section 552(b)(6) (hereinafter Exemption b(6)) permits the

        government to withhold all information about individuals in "personnel and medical files

        and similar files" when the disclosure of such information " would constitute a clearly

        unwarranted invasion of personal privacy." 5 U.S.C. § 552 (b)(6).

  17.   Title 5, United States Code, Section 552(b)(7)(C) (hereinafter Exemption 7(C)) protects

        from mandatory disclosure records or information compiled for law enforcement purposes

        to the extent that disclosure “could reasonably be expected to constitute an unwarranted

        invasion of personal privacy...” 5 U.S.C. § 552 (b)(7)(C).

  18.   The names of lower level law enforcement staff, who were involved in the unique

        circumstances that gave rise to the creation of the document at issue, need to be redacted to

        protect against a clearly unwarranted invasion of their personal privacy and to protect

        against the risk of harm coming to them. These staff, like all Bureau of Prisons staff who

        work at prisons, are considered correctional workers first and thus must interact with

        inmates in this law enforcement capacity. The BOP FOIA/PA Office, in processing these

        documents balanced the expectation of privacy of these staff against any public interest that

        would be served in the release of the staff names.

  19.   The BOP recognizes the names of lower level law enforcement staff are revealed to some

        inmate requesters in the day-to-day, normal operations of a prison. Thus, their expectation

        of privacy in those mundane activities is lowered. However, there are circumstances where

        these staff are involved in activities where their names are not known to inmates or others.

        Law enforcement staff have a higher expectation of privacy in the law enforcement duties

        they perform out of the public’s or inmates’ eyes. The BOP also considers the benefit the


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FOIA Request #06-9422
 DOC    PAGES      DOCUMENT                         EXEMPT/     JUSTIFICATION
 #                 DESCRIPTION                      STATUS
 1      3 pages    Cover letters for each of the    (b)(5) &    (b)(5) One sentence was redacted
        Redacted   three requested                  (b)(2)      on each letter that contained
                   Administrative Remedy                        identical information that was
                   Requests, addressed to the                   developed by an attorney in
                   Warden.                                      anticipation of litigation
                                                                challenging the BOP’s position
                                                                taken in the response to the
                                                                Administrative Remedy Request.


                                                                (b)(2) was applied to an internal
                                                                telephone number and
                                                                extenstion.
 2      3 pages    Administrative Remedy            (b)(5)      Each printout was redacted of an
        Redacted   database printouts for the                   identical statement discussing
                   three Administrative                         possible litigation strategies.
                   Remedies.
 3      2 pages    E-mail exchange with a BOP       (b)(2),     The names of these staff and
        Redacted   attorney and other attorneys     (b)(6)      some internal phone numbers
                   and lower level law              (b)(7)(C)   and computer identification
                   enforcement staff. The                       codes were redacted.
                   names of these staff and
                   some internal phone
                   numbers and computer
                   identification codes were
                   redacted.
 3      38         Regulations and BOP policy       (b)(5)      Information was developed,
                   printed and reviewed by                      prepared and compiled by and on
                   legal staff in considering the               behalf of an attorney in
                   Administrative Remedy                        anticipation of litigation
                   Requests                                     challenging the BOP’s position
                                                                taken in the response to the
                                                                Administrative Remedy Request.
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 4      66       Internal BOP background          (b)(5)   Information was developed,
                 material regarding the issues             prepared and compiled by and on
                 raised in each of the                     behalf of an attorney in
                 Administrative Remedy                     anticipation of litigation
                 Appeals, includes a memo                  challenging the BOP’s position
                 containing legal analysis and             taken in the response to the
                 guidance, as well as several              Administrative Remedy Request.
                 e-mails between BOP
                 attorneys and legal staff
                 analyzing the issues raised in
                 the requested Administrative
                 Remedy Requests. Also
                 includes draft of legal
                 analysis memo with
                 handwritten notes on it.


 5      20       Case law printed from an         (b)(5)   Information was developed,
                 online legal service which                prepared and compiled by and on
                 was used in analyzing the                 behalf of an attorney in
                 issues raised in the                      anticipation of litigation
                 Administrative Remedy                     challenging the BOP’s position
                 Requests sought                           taken in the response to the
                                                           Administrative Remedy Request.
